        Case 2:09-cr-00185-JAD-CWH                Document 238         Filed 10/14/10       Page 1 of 1




                                    U NITED STATES D ISTR ICT CO URT

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                       Plaintifll
                                                                    DistrictN o. 2:09-CR-185-PM P-LRL
 NrS.



 Bradley etal
                       Defendant.

                          O R DER TEM PO Q AQH ,
                                               Y UN SEALIN G TILANSCR IPT


         On October 13.2010,thiscourtreceivedatranscriptorderdated October13,2010,requesting transcripts
ofahearingheld onJanualy 26,2010,from Mr.PeterLevitt,attorney forplaintil in which portionsofthe
hearingw eresealed.

         IT IS TH E O RD ER O F TIIE CO LTRT thatthesealedtranscriptsshallbeunsealedby the Clerk forthe
lim itedpurposeofprovidingacopy ofthetranscriptasrequestedbyM r.Levitt.


         IT IS FURTH ER O RDERED thatthesealedtranscriptsshallthereafterberesealedbytheClerk,anda
certised copyofthetranscriptbedelivered to theClerkpursuantto 28U.S.C.,Section 753(b),untilfurtherorderof
thisCourt.


         IT IS FU RTH ER O R DER ED thatthe receiving party shallnotdisclose the sealed contentsofthe
transcriptoftheproceedingtoanyoneotherthan therepresentativesofthepartiesdirectlyconcernedwiththiscase.


         DATED this   IVqdayofoctober20I0.
                                         ,




                                                    Philip M .Pro
                                                    U nitedStatesD istrictJudge
